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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In re:

JAMES M. LONG                                                 Case No. 6:17-bk-00402-CCJ
SHARON P. LONG,

                                Debtors./

                   DEBTORS' OBJECTION TO CLAIM NO. 8 AS FILED BY
                             WELLS FARGO BANK, N.A.

                    NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
further notice or hearing unless a party in interest files an response within 30 days from the date set
forth on the attached proof of service, plus an additional three days for service if any party was
served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the
Court at 400 W. Washington St, Suite 5100, Orlando, FL 32801 and serve a copy on the movant's
attorney, Adam G. Russo, Esquire, Myers, Eichelberger & Russo, P.L., 5728 Major Boulevard,
Suite 735, Orlando, Florida 32819, and any other appropriate persons within the time allowed. If
you file and serve a response within the time permitted, the Court will either schedule and notify
you of a hearing, or consider the response and grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice or
hearing, and may grant the relief requested.

         COME NOW Debtors, JAMES M. LONG and SHARON P. LONG, by and through

undersigned counsel, file this Objection to the claim of Creditor, WELLS FARGO BANK, N.A.,

and the Debtors state as follows:

         1.    The Creditor filed a secured claim in the amount of $201,642.60 (Claim No. 8) on

March 23, 2017.

         2.    The Creditor claims pre-petition arrearages in the amount of $34,612.56.

         3.    The Debtors object to the arrearage amount.

         4.    The Debtors request that the Creditor provide a complete history of this loan.
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       WHEREFORE, Debtors by and through their undersigned counsel, requests that the Court

order WELLS FARGO BANK, N.A. to provide a complete history of the loan, and grants such

other and further relief as this Court deems just and proper.

       Respectfully submitted this 21st day of June, 2017.


                                                     /s/ ADAM G. RUSSO
                                                     Adam G. Russo, Esq.
                                                     Myers, Eichelberger & Russo, P.L.
                                                     Florida Bar No. 84633
                                                     5728 Major Blvd., Suite 735
                                                     Orlando, FL 32819
                                                     Telephone: 407-926-2455
                                                     Facsimile: 407-536-4977
                                                     adam@themelawfirm.com

                                   CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing has been sent by certified U.S Mail or by electronic

transmission on the 21st day of June, 2017, to Office of the United States Trustee, 400 W.

Washington Street, Suite 1100, Orlando, Florida 32801; Laurie Weatherford, Chapter 13 Trustee,

Post Office Box 3450, Winter Park, FL 32790; Wells Fargo Bank, N.A., Attn: Eric Houdek, Vice

President, Loan Documentation, Wells Fargo Bank, N.A, 1 Home Campus, X2303-01A, Des

Moines, IA 50325-0001; Wells Fargo Bank, N.A., Attn: Registered Agent, General Manager or

Officer, Wells Fargo Operations Center, Post office Box 31557, B6955-01B, Billings, MT 59107

and Wells Fargo Bank, N.A., c/o Albertelli Law, Post Office Box 23028, Tampa, Florida 33623.



                                                     /s/ ADAM G. RUSSO
                                                     Adam G. Russo, Esq.
                                                     Myers, Eichelberger & Russo, P.L.
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